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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT MICHIGAN

MALIBU MEDIA, LLC,                                 )
                                                   )
       Plaintiff,                                  )   Civil Action Case No. 5:18-cv-10324-JEL
                                                   )
v.                                                 )
                                                   )
JOHN DOE subscriber assigned IP address            )
68.51.133.5,                                       )
                                                   )
       Defendant.                                  )
                                                   )

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                           WITH PREJUDICE OF JOHN DOE

       PLEASE TAKE NOTICE, Plaintiff has settled this matter with John Doe (“Defendant”)

through his counsel. Pursuant to the settlement agreement’s terms, Plaintiff hereby voluntarily

dismisses Defendant from this action with prejudice. John Doe was assigned the IP Address

68.51.133.5. Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i) Defendant John Doe has neither answered

Plaintiff’s Complaint nor filed a motion for summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for

administrative purposes.

               Dated: April 18, 2018         Respectfully submitted,

                                             By:        /s/ Joel A. Bernier
                                                       Joel A. Bernier, Esp. (P74226)
                                                       49139 Schoenherr Road
                                                       Shelby Township, MI 48315
                                                       Tel: (586) 991-7611
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                                                       Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 18, 2018, I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and
interested parties through this system.

                                                     By: /s/ Joel A. Bernier




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